        Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 1 of 32



 1   David J. Cook (SBN 60859)
     COOK COLLECTION ATTORNEYS, PLC
 2   ATTORNEYS AT LAW
     165 Fell Street
 3
     San Francisco, CA 94102
 4   Telephone: (415) 989-4730
     Facsimile: (415) 989-0491
 5   Cook@CookCollectionAttorneys.com
 6   LEWIS & LLEWELLYN LLP
 7   Evangeline A.Z. Burbidge (Bar No. 266966)
     eburbidge@lewisllewellyn.com
 8   Marc R. Lewis (Bar No. 233306)
     mlewis@lewisllewellyn.com
 9   Kenneth M. Walczak (Bar No. 247389)
     kwalczak@lewisllewellyn.com
10   Bradley E. Estes (Bar No. 298766)
11   bestes@lewisllewellyn.com
     601 Montgomery Street, Suite 2000
12   San Francisco, California 94111
     Telephone: (415) 800-0590
13   Facsimile: (415) 390-2127
14   Attorneys for Petitioner EDAG Engineering GmbH,
15   a corporation organized and existing under the laws
     of the Republic of Germany
16
                                UNITED STATES DISTRICT COURT
17
             NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION
18
     EDAG Engineering GmbH,                                Case No. 3:21-cv-04736-EMC
19

20          Petitioner,                                    DECLARATION OF DAVID J. COOK
                                                           ESQ., IN SUPPORT OF MOTION TO
21          v.                                             LIFT STAY UNDER FRCP 62 (a).
     BYTON North America Corporation,
22                                                         Date:          December 9, 2021
                                                           Time:          1:20 pm
23          Respondent.
                                                           Location:      via Judge Chen’s
24                                                                        Videoconference – Link

25                                                         Petition Filed: June 23, 2021
26

27

28                                                   1
       DECLARATION OF DAVID J. COOK, IN SUPPORT OF MOTION TO LIFT STAY UNDER
                                     FRCP 62 (a).
        Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 2 of 32


            I, DAVID J. COOK, hereby declare and state as follows:
 1

 2          1.      I am one of the attorneys of record for Petitioner in the above-entitled action, am duly
     authorized to practice before all courts in the State of California, and am familiar with the facts and
 3
     circumstances in this action
 4
            2.      CT Corporation System resigned as agent for service of process pursuant to the
 5   resignation, a true and authentic of the resignation marked Exhibit "A" is attached hereto and
 6   incorporated within.
 7          3. Tony Klein, a registered process server, took pictures of the former office for Byton North

 8   America Corporation on December 6, 2021 at the hour of approximately 9 am. His true and
     authentic Declaration and his photographs are attached hereto and marked Exhibit "B" and
 9
     incorporated within. The photographs indicate that the premise is empty.
10
            4. Submitted for filing as Exhibit "C" is Statement Information from the Secretary of State
11
     of California regarding Byton North America Corporation. The form shows that the last known
12   Chief Executive Officer of Byton North America Corporation is Daniel Kirchert. The form is a true
13   and authentic copy and marked Exhibit "C" and is incorporated within.
14          5. Submitted for filing as Exhibit "D" is a copy of the Declaration of Daniel Kirchert,
     previously submitted in the case entitled Hanon Systems vs. Byton, pending in the United States
15
     District Court ND CA, Case # 20-cv-01983-YGR. The Declaration is a true and authentic copy and
16
     marked Exhibit "D" and is incorporated within.
17
            6. Submitted for filing as Exhibit "E " is Statement Information from the Secretary of State
18   of California regarding JAMA Software, Inc. The filing information contains the address for JAMA
19   Software, Inc., and the registered agent for service of process (CSC). The statement information is a
20   true and authentic copy and marked Exhibit "E" and is incorporated within.

21          7. On December 1, 2021, David J. Cook Esq., informed Keith Sipprelle, Esq. by email that
     CT Corporation System resigned as the agent for service of process for Byton North America. A
22
     true and authentic copy is attached hereto, marked Exhibit "F" and incorporated herein.
23

24          I declare under penalty of perjury under the laws of the United States that the foregoing is
25   true and correct. Executed on this 7th day of December, 2021 at San Francisco, California.
26                                                     /s/ David J. Cook

27                                                 DAVID J. COOK, ESQ. (SB# 06859)

28                                                      2
       DECLARATION OF DAVID J. COOK, IN SUPPORT OF MOTION TO LIFT STAY UNDER
                                     FRCP 62 (a).
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 3 of 32




               EXHIBIT "A"
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 4 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 5 of 32




               EXHIBIT "B"
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 6 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 7 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 8 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 9 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 10 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 11 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 12 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 13 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 14 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 15 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 16 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 17 of 32




                EXHIBIT "C"
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 18 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 19 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 20 of 32




                EXHIBIT "D"
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 21 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 22 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 23 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 24 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 25 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 26 of 32




                EXHIBIT "E"
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 27 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 28 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 29 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 30 of 32
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 31 of 32




                EXHIBIT "F"
Case 3:21-cv-04736-EMC Document 42-1 Filed 12/07/21 Page 32 of 32
